                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

ROBERT DAVYDOV, Derivatively on           )
Behalf of ACADIA HEALTHCARE               )
COMPANY, INC.,                            )
                                          )
               Plaintiff,                 )
                                          )
v.                                        ) Judge Eli J. Richardson
                                          ) Magistrate Judge Barbara D. Holmes
JOEY A. JACOBS, WILLIAM BRENT             )
TURNER, RONALD M. FINCHER,                )
DAVID DUCKWORTH, REEVE B.                 ) Case No. 3:19-cv-00167
WAUD, WILLIAM F. GRIECO, WADE             )
D. MIQUELON, WILLIAM M. PETRIE,           )
E. PEROT BISSELL, CHRISTOPHER R.          )
GORDON, VICKY B. GREGG, and               )
HARTLEY R. ROGERS,                        )
                                          )
               Defendants,                )
                                          )
       -and-                              )
                                          )
ACADIA HEALTHCARE COMPANY,                )
INC., a Delaware corporation,             )
                                          )
               Nominal Defendant.         )


                            STIPULATION DEFERRING DERIVATIVE
                                    ACTION AND ORDER




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       WHEREAS, this derivative action filed by plaintiff Robert Davydov (“Plaintiff”) names

as individual defendants1 certain current and former directors and officers of Nominal Defendant

Acadia Healthcare Company, Inc. (“Acadia” and, together with the individual defendants, the

“Defendants”);

       WHEREAS, a class action alleging violations of the federal securities laws filed against

Acadia and certain of its officers is pending in this Court: St. Clair County Employees’

Retirement System v. Acadia Healthcare Company, Inc., et al., No. 3:18-cv-00988 (the “Federal

Securities Class Action”);

       WHEREAS, the parties agree that, while this derivative action asserts different claims for

liability, it does involve some of the same parties and factual allegations as the Federal Securities

Class Action;

       WHEREAS, it is understood that the defendants in the Federal Securities Class Action

anticipate filing a motion to dismiss the consolidated complaint filed by the lead plaintiff

appointed in that matter;

       WHEREAS, the Private Securities Litigation Reform Act, 15 U.S.C. § 78u-4(b)(3)(B),

provides in relevant part that all discovery, including initial disclosures pursuant to Fed. R. Civ.

P. 26(a), shall be stayed during the pendency of the motion to dismiss the Federal Securities

Class Action;
       WHEREAS, the parties agree that the interests of preserving the parties’ and the Court’s

resources, efficient and effective case management, and moving the case expeditiously towards

trial would best be served by deferring this matter until the Court enters an order resolving

defendants’ anticipated motion to dismiss the Federal Securities Class Action and have further

agreed on certain terms, noted below, during the pendency of the deferment;


1
   The individual defendants are Joey A. Jacobs, William Brent Turner, Ronald M. Fincher,
David Duckworth, Reeve B. Waud, William F. Grieco, Wade D. Miquelon, William M. Petrie,
E. Perot Bissell, Christopher R. Gordon, Vicky B. Gregg, and Hartley R. Rogers.



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       WHEREAS, the parties agree that at any time during which the prosecution of this

derivative action is deferred pursuant to this Order, any party may file a motion with the Court

seeking to modify the terms of the Order, which may be opposed by any other party; and

       WHEREFORE, the parties, through their undersigned counsel, hereby agree, stipulate,

and respectfully request that the Court enter an Order as follows:

       1.      This derivative action shall be deferred pending a ruling on defendants’

anticipated motion to dismiss the Federal Securities Class Action or until otherwise agreed to by

the parties, but subject to each party’s right (i) to move the Court to lift or extend the deferral and

(ii) to oppose such motions.

       2.      Plaintiff may file an amended complaint while this case is deferred.

       3.      The case management conference scheduled for April 22, 2019 at 10:00 a.m. is

cancelled and taken off the calendar.

       4.      Within thirty days of the ruling on defendants’ anticipated motion to dismiss the

Federal Securities Class Action, the parties shall meet and confer concerning a schedule for

further proceedings in this derivative action and advise the Court accordingly.

       5.      Defendants shall be under no obligation to respond to the complaint, or any

amended complaint, while this derivative action is deferred.


IT IS SO ORDERED.



                                               ELI J. RICHARDSON
                                               UNITED STATES DISTRICT JUDGE




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Stipulated and Agreed To:

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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served via the
Court’s ECF system upon the following:

       Wade B. Cowan
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this the 12th day of April, 2019.


                                                    s/ Steven A. Riley




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